Case 2:22-cv-00223-Z Document 106 Filed 02/13/23 Page 1of1 PagelD 3899

  
 
 

US. DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION

 

FEB 1 3 2023

CLERK. U.S. DISTRICT COURT
By.

 

ALLIANCE FOR HIPPOCRATIC
MEDICINE, et al.,

      

epuly
Plaintiffs,
2:22-CV-0223-Z

Vv.

U.S. FOOD AND DRUG
ADMINISTRATION, et al.,

COP? CO? CO? CO? SO? 6O? (OD CO? SO? CO? CO?

Defendants.
ORDER

On February 6, 2023, the Court granted Danco Laboratories, LLC’s (“Danco”) motion for

to intervene. ECF No. 33. The Court subsequently extended Plaintiffs’ deadline to reply to
February 24 to afford Plaintiffs more time to consider Danco’s response to the motion for
preliminary injunction. See ECF No. 43. Plaintiffs misconstrued the Court’s order as permitting
two replies — one to the response by the U.S. Food and Drug Administration et al. (“FDA”) and
one to the response by Danco. On February 10, Plaintiffs filed their reply to the FDA’s response
only. The Court hereby ORDERS: On or before February 24, 2023, Plaintiffs may file one Reply
| that consolidates (1) Plaintiffs’ reply to the FDA’s response (ECF No. 28) and (2) Plaintiffs’ reply
to Danco’s Response (ECF No. 50). The Court therefore STRIKES Plaintiffs’ reply (ECF Nos.

76, 79) without prejudice to Plaintiffs re-filing a reply in accordance with this order.

SO ORDERED. Ye Ln

February /3, 2023

 

MATAHEW J. KACSMARYK
UNITED STATES DISTRICT JUDGE

  
 
